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 1 STEVEN W. MYHRE
   Acting United States Attorney
 2 District of Nevada

 3 MICHAEL A. HUMPHREYS
   Assistant United States Attorney
 4 501 Las Vegas Boulevard South, Suite 1100
   Las Vegas, Nevada 89101
 5 Telephone: 702-388-6336
   Facsimile: 702-388-6787
 6 Email: Michael.humphreys@usdoj.gov

 7 Attorneys for the United States of America

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 9

10                                UNITED STATES DISTRICT COURT
11                                     DISTRICT OF NEVADA
12    UNITED STATES OF AMERICA,                      ) Case No. 2:11-CR-434-LDG-(PAL)
                                                     )
13                   Plaintiff,                      ) Stipulated Motion to Continue Discovery
                                                     )
14           v.                                      ) (Eighth Request)
                                                     )
15    EDUARD PETROIU, et. al.,                       )
                                                     )
16                   Defendants.                     )
                                                     )
17                                                   )
18          COME NOW the parties and stipulate and jointly move this Court to continue the

19 discovery cut-off in the above-captioned case until September 30, 2017. This is the parties’

20 eighth stipulated request for an extension of time. This Court granted a 30-day extension on June

21 29, 2017.

22          After conducting extensive discovery, the parties have engaged in negotiations and have

23 agreed, in principle, and in an unsigned writing, to settle this matter for an agreed amount. One

24 of the claimants in this matter, Atanas Nedyalkov, is on the road as a long-range trucker and

25 cannot sign the settlement agreement until he returns. In the meantime, the parties have an

26 obligation to file a settlement agreement with this Court by August 31, 2017. Government
         Case
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 1 counsel has already reduced the terms of the settlement to writing and has delivered that written

 2 agreement to Claimants’ counsel for Claimant’s execution; and they have agreed to settlement on

 3 the terms outlined in that agreement.

 4          Once Mr. Nedyalkov has returned to the city, both he and his wife (Mariya Nedyalkova,

 5 the other petitioner) will sign the settlement agreement, which will then be presented to this

 6 Court for final action and final disposition of this matter.

 7          Claimants’ counsel, Boris Avramski, has consented to this motion for extension of time.

 8          Given the foregoing, the parties have agreed to request that this Court extend the

 9 discovery cut-off deadline in this matter until September 30, 2017.

10          This motion is not submitted solely for the purpose of delay or for any other improper

11 purpose.

12          WHEREFORE, the parties move this Court to grant a continuance of the discovery cut-

13 off date until September 30, 2017, for the parties to formally finalize the terms of settlement of

14 this matter.

15          Dated this 31st day of August, 2017.

16
                                                          Respectfully submitted,
17
                                                          STEVEN W. MYHRE
18                                                        Acting United States Attorney
19
                                                          /s/Michael A. Humphreys
20                                                        MICHAEL A. HUMPHREYS
21

22
                                                          IT IS SO ORDERED:
23

24

25
                                                                         DISTRICT
                                                          UNITED STATES MAGISTRATE    JUDGE
26                                                        LLOYD D. GEORGE
                                                          DATED:         September 2017



                                                      2
